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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF OREGON

                                      EUGENE DIVISION


  JOHN DOE,                                          CASE NO.: 6:17-cv-01103-AA

                                       Plaintiff,    FIRST AMENDED COMPLAINT

          v.                                         (Violation of Federal Civil Rights
                                                     Law, 42 U.S.C. § 1983; Violation of
  UNIVERSITY OF OREGON, SANDY                        Title IX; Breach of Contract; Breach
  WEINTRAUB, an individual acting in his             of Covenant of Good Faith and Fair
  personal capacity; CAROL MILLIE, an                Dealing)
  individual acting in her personal capacity; and
  ROBIN HOLMES, an individual acting in her
  personal capacity.                                 DEMAND FOR JURY TRIAL

          Defendants.


       Plaintiff, John Doe (“John Doe”), by and through his undersigned attorney hereby alleges

against Defendants the University of Oregon, Sandy Weintraub, Carol Millie, and Robin

Holmes:

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                                JURISDICTION AND VENUE

   1. Jurisdiction is conferred upon this Court by 28 U.S.C. § 1331, federal question

      jurisdiction, and 28 U.S.C. § 1343, civil rights jurisdiction.

   2. John Doe requests this Court invoke its supplemental jurisdiction pursuant to 28 U.S.C.

      § 1367 with respect to all causes of action based on Oregon statutory provisions or

      common law because the state claims arise from the same nucleus of operative facts as

      the federal claims.

   3. Venue is in the District of Oregon pursuant to 28 U.S.C. § 1391(b) because the claim

      arose in this judicial district.

                                            PARTIES

   4. John Doe is a citizen and a resident of Oregon, and at all relevant times was a student

      duly enrolled at the University of Oregon.

   5. Plaintiff’s name is represented herein by pseudonym as required under the Family

      Education Rights and Privacy Act (“FERPA”) (20 U.S.C. § 1232g; 34 CFR Part 99).

      FERPA controls to the extent that it is not in conflict with constitutional rights and

      privileges.

   6. Defendant the University of Oregon (the “University”) is a public university established

      by state statute. ORS 352.002(1). The University is a governmental entity performing

      governmental functions and exercising governmental powers. ORS 352.033. The

      University is an institution of higher education that receives federal funding and is

      subject to Title IX (20 USC §§ 1681 et seq.).

   7. The University has a governing Board of Trustees, ORS 352.054, and is located in

      Eugene, Oregon.



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   8. State law authorizes the University to establish policies for the administration of the

      university that have the force of law and may be enforced through university procedures.

      ORS 352.087(1)(m). The Board may delegate and provide for the further delegation of

      university powers, rights, duties, and privileges. (Article III, University Bylaws,

      approved September 11, 2015).

   9. The University, through its Director of Student Conduct and Community Standards, has

      developed procedures to control the investigation and adjudication of allegations of

      sexual misconduct by the University’s students.

   10. At all times material hereto, the University acted by and through its agents, servants,

      employees, and representatives, who were acting in the course and scope of their

      respective agencies or employment and/or in the promotion of the University’s business,

      mission and/or affairs.

   11. Defendant Sandy Weintraub is, and was at all relevant times, the Director of Student

      Conduct & Community Standards at the University. The University’s Procedures for

      investigating and adjudicating student sexual misconduct allegations were developed by

      the Office of the Director. The Director appoints the decision-maker to investigate and

      adjudicate the allegations in a specific case. Upon information and belief, Weintraub

      resides in Oregon.

   12. Defendant Carol Millie was at all relevant times Senior Equal Opportunity Specialist in

      the Office of Affirmative Action and Equal Opportunity at the University. Millie was

      the University’s designated representative, or “Decision-maker,” responsible for

      investigating and adjudicating allegations of student sexual misconduct against

      Petitioner-Plaintiff. In that capacity, Millie served as the hearing officer for the



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      adjudicative proceeding regarding the allegations against Petitioner-Plaintiff. Upon

      information and belief, Ms. Millie resides in Oregon.

   13. Defendant Robin Holmes was at all relevant times Vice President for Student Life at the

      University. In that capacity, Holmes was responsible for hearing any appeal of any

      adjudication against Plaintiff. In addition, Holmes had supervisory authority over

      Defendant Weintraub and over the person that Holmes designated to handle Plaintiff’s

      appeal. Upon information and belief, Holmes resides in California.

                                 STATEMENT OF FACTS

   14. In February 2016, John Doe and Jane Roe were students at the University of Oregon.

      That month, John Doe received notice that Jane Roe had accused him of sexual

      misconduct—allegations which he consistently denied as false. He passed four

      polygraph examinations that established as true his version of events.

   15. After a biased investigation and procedurally inadequate adjudication of the allegations,

      however, the University suspended John Doe for one year.

   16. On July 20, 2016, John Doe appealed the University’s decision and sanction. In

      response, on July 26, 2016, while retaining final authority over the appeal, defendant

      Holmes assigned the appeal to her designee.

   17. Defendant Holmes’s designee affirmed the decision and sanction on September 7, 2016.

      Defendant Holmes approved of her designee’s decision and sanction.

   18. On September 16, 2016, John Doe filed a petition for writ of review (case number

      16CV30413) in Lane County Circuit Court. On review, the court held that the

      University violated several of its policies and procedures during the adjudication of the

      alleged disciplinary actions. The court therefore entered judgment against the



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      University on December 22, 2016, reversing the University’s decision and vacating the

      imposed sanction. The court further ordered from the bench that the University not

      pursue further disciplinary action against John Doe.

               University’s Applicable Procedures Governing Investigations
                   and Adjudications of Sexual Misconduct Allegations

   19. The University’s Student Conduct Code and Sexual Misconduct Standard Operating

      Procedures (“SOPs”) set forth the University’s policies and procedures for investigating

      and adjudicating alleged disciplinary violations, including alleged violations of the

      University’s sexual misconduct policies.

   20. The Student Conduct Code in force at all material hereto set forth the general procedural

      protections an accused student may expect, and stated: “Procedural fairness is basic to

      the proper enforcement of all University regulations.”

   21. The Student Conduct Code further stated: “Regulations and disciplinary sanctions

      affecting the conduct of all Students shall be based on general principles of equal

      treatment.”

   22. The Student Conduct Code guaranteed a student accused of sexual misconduct an

      “opportunity to respond to all information provided . . . .” to the University decision

      maker.

   23. The SOPs in force at all times material hereto set forth in greater detail the procedures to

      be followed in investigating and adjudicating complaints of sexual misconduct.

   24. The SOPs stated: “[T]hese procedures shall be interpreted and applied consistent with

      the Violence Against Women Act, Title IX, their implementing regulations and relevant

      agency guidance, and other controlling state and federal law.”




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   25. Pursuant to the University’s procedures, the investigation and adjudication of student

      sexual misconduct allegations typically proceeded according to the following time

      frames: “(1) Fact-gathering investigation (40 days); (2) Review of Record (a period of 5

      calendar days after the closing of the fact-gathering investigation); (3) Administrative

      Conference (5 calendar days after the close of the Review of Record). These timeframes

      may only be altered or extended for good cause.”

   26. The fact-gathering process, together with the Administrative Conference, constituted the

      mechanism by which the University assessed and took formal disciplinary action

      regarding student misconduct violations of University policy.

   27. The University could designate an appropriate University representative, referred to as

      the “Decision-maker,” to both investigate and adjudicate the allegations in a specific

      case.

   28. The Decision-maker controlled the record and, based on that record, determined by a

      preponderance of the evidence whether an accused student committed misconduct.

   29. As the gatekeeper of the record, the Decision-maker was authorized by the University’s

      procedures to take necessary measures throughout the investigation and adjudication process

      to ensure that each party was afforded constitutionally sufficient notice and opportunity to

      view and respond to evidence.

   30. The Decision-maker was charged with creating a record of all relevant information

      obtained before or during the fact-gathering investigation (the “Record”).

   31. The accused student and the complainant were to be afforded an opportunity to review

      the Record for a period of five days after the conclusion of the fact-gathering

      investigation, and before the Administrative Conference.



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   32. The Administrative Conference was intended to provide fair, ample, and equal

      opportunity for each party to respond to the Record, including posing questions to the

      Decision-maker, the other party, and witnesses.

   33. At the Administrative Conference, the parties could not directly question other parties or

      witnesses. Only the Decision-maker could pose questions to the complainant and the

      accused student, including questions suggested and provided in writing by the parties.

      The parties’ proposed questions became part of the Record. The Decision-maker posed

      questions to a witness or party to whom the question was directed if she concluded that

      the questions were relevant and not unduly harassing. Responses to those questions

      become a part of the Record.

   34. The University’s procedures expressly prohibited both the accused and the complainant

      from introducing new or additional evidence after the conclusion of the fact-gathering

      process. Such evidence was not to be considered or to become part of the Record.

   35. The procedures also separately and specifically barred the admission of any new or

      additional evidence at the Administrative Conference that could have been provided to

      the Decision-maker during the fact-gathering investigation. Such evidence was not to be

      allowed or considered. The only exception to those rules was for good cause.

   36. To justify the introduction and consideration of new or additional evidence for good

      cause, a party could petition the Decision-maker. To request an exception to the bar

      against the admission of previously available, but unsubmitted, evidence, a party must

      have filed a petition with the Decision-maker showing why there was good cause for

      such admission.




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   37. For the Administrative Conference to be conducted fairly and in conformity with the

      University’s procedures, the Decision-maker was required to give the complainant a

      reasonable opportunity to present information. Further, the accused also must have

      received reasonable notice and an opportunity to prepare and respond to the allegations.

                 University’s Illegal Investigation and Adjudication of Plaintiff’s Case

   38. Jane Roe and John Doe met during the early fall term of 2015, and they sometimes

      engaged in consensual sexual activity. Around the middle of the fall term, however,

      John Doe wanted to be in a serious relationship with someone, but Jane Roe wanted to

      have a more casual sexual relationship, which was not appealing to John Doe.

   39. John Doe became highly concerned that Jane Roe had infected him with the herpes virus

      because he believed she had cold sores. John Doe is an extreme “germaphobe”—a fact

      to which several witnesses testified at the disciplinary hearing. John Doe became so

      concerned that he had contracted herpes, that he went to the student health facility and

      text messaged his mother about his concerns.

   40. John Doe and Jane Roe started talking again during winter term of 2016. Given John

      Doe’s belief that Jane Roe was infected with the herpes virus, however, he had no

      interest in engaging with her sexually.

   41. On February 11, 2016, Jane Roe and John Doe met for coffee and then took a walk.

      Jane Roe’s boyfriend had just broken up with her, although John Doe reported that they

      did not talk about the breakup. John Doe walked with Jane Roe after coffee because she

      had complained that she could not smoke in her dorm room. John Doe offered to show

      her some places he thought that she might be able to smoke.




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   42. On the night of February 12, 2016, Jane Roe contacted John Doe, who lived in the same

      dorm, because she was highly intoxicated and afraid that, if she fell asleep, she might

      inhale her own vomit. She asked John Doe to watch over her, and John Doe agreed.

      Jane Roe came to his dorm room, and immediately collapsed onto his roommate’s bed.

      John Doe positioned Jane Roe on her side to protect her from asphyxiation and removed

      her outer cardigan, in which her hand had become entangled.

   43. John Doe then left his room to take a shower. After showering, he did some laundry and

      subsequently fell asleep on a couch in the downstairs lounge of his dorm. Several

      witnesses corroborated this series of events.

   44. In the early morning of February 13, 2016, around 3:30 A.M., John Doe returned to his

      dorm room. He fell asleep sitting up in his own bed, while Jane Roe continued to sleep

      in his roommate’s bed. When John Doe awoke, Jane Roe was gone.

   45. On February 18, 2016, the University notified John Doe that Jane Roe had filed with the

      University a sexual misconduct complaint against him.

   46. Jane Roe had filed her complaint on February 16, 2016, and two days later, the

      University issued an emergency-action housing change against John Doe, requiring him

      to move to another dorm.

   47. Defendant Holmes reviewed the University’s emergency-action housing change, and

      approved it.

   48. The University’s Student Conduct Code provides that a preliminary hearing must be

      held within two business days of the emergency action.

   49. For some time after the emergency action, the University maintained that John Doe had

      been forced to change dorms not as an emergency action but pursuant to the contract



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      provisions in his housing agreement. Ultimately, the University acknowledged that the

      move was pursuant to its emergency action procedures.

   50. In violation of the University’s policies and procedures, a preliminary hearing on the

      emergency action was not afforded John Doe until April 15, 2016, approximately two

      months after the University removed John Doe from his dorm.

   51. On April 18, 2016, defendant Sandy Weintraub sustained the emergency action

      requiring John Doe to change dorms.

   52. On April 22, 2016, Defendant Holmes denied John Doe’s appeal of the University’s

      emergency action requiring him to change dorms.

   53. On May 4, 2016, Defendant Holmes again denied John Doe’s request to review the

      University’s emergency action requiring him to change dorms.

   54. Due to the emergency action, John Doe was prohibited from visiting his friends or

      eating in the Hamilton dorm complex.

   55. As a result of Jane Roe’s accusations, the University initiated an investigation and

      scheduled an Administrative Conference for May 17, 2016.

   56. Defendant Carol Millie was designated as the Decision-maker in the case.

   57. In the course of the investigation, Millie conducted documented interviews of Jane Roe

      on February 23, 2016, and again on April 6, 2016. As is discussed below, the Record

      suggests that Millie may have interviewed Jane Roe on other occasions without

      including summaries of those interviews in the Record, in violation of the University’s

      SOPs.

   58. According to one of Jane Roe’s first versions of the alleged assault, after she had passed

      out on the night of February 12, 2016, John Doe pulled her onto the floor and on top of



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      him. He then, according to Jane Roe, sexually assaulted her by kissing her, putting his

      hands down her pants, and attempting to touch her vagina through her underwear.

   59. She also claimed that immediately after the assault, John Doe left the room to take a

      shower, and she quickly texted her ex-boyfriend: “Just for documentation, can you make

      it known I was almost raped tonight?” The time stamp of that iMessage reflects that it

      was sent at 3:24 A.M.

   60. During the investigation period, John Doe provided Millie with the results of two

      polygraph examinations confirming that he had not engaged in sexual contact with Jane

      Roe on the night in question.

   61. Jane Roe also falsely reported that she and John Doe exchanged iMessages the morning

      after the assault, in which he apologized for the assault. Jane Roe, however, could not

      produce the original iMessages. Instead, she presented Millie with a screen shot of the

      iMessages, which Jane Roe claimed she had taken in case she later decided to file a

      complaint.

   62. To explain why the original iMessages were no longer available for inspection, Jane

      Roe’s counsel reported to Millie that, the morning after the assault, Jane Roe deleted

      John Doe’s contact information from her phone and blocked all text messages from him.

      Jane Roe’s counsel claimed that, based on information that she and Jane Roe had

      learned through consulting with Jane Roe’s cellular phone service provider, all previous

      text messages from John Doe were automatically deleted when Jane Roe blocked his

      contact information.

   63. As is further discussed below, John Doe presented to Millie expert testimony that

      iMessages are not automatically deleted when contacts are deleted and messages are



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      blocked. He presented further expert testimony explaining how a person may create a

      fake iMessage on her phone and then delete the fake message after producing a screen

      shot of it.

   64. Once an original text message is deleted, there is no way to verify the authenticity of the

      screen shot.

   65. As is discussed in more detail below, when Jane Roe was confronted with John Doe’s

      expert evidence, she changed her story about the deletion of the iMessages, claiming,

      through counsel, that she intentionally destroyed them at the time that she blocked John

      Doe’s number and that she had reported as much to Millie during the investigation.

      Despite Jane Roe’s claims that she told Millie that she had intentionally deleted John

      Doe’s iMessages, that version of the deletion story is not contained anywhere in

      Milllie’s reports.

   66. On the afternoon of February 13, 2016, Jane Roe met her ex-boyfriend for tea. He was

      appropriately concerned for Jane Roe after the message he’d received at 3:24 A.M. the

      previous night. He encouraged her to prosecute John Doe through the university system

      and proposed that she try to elicit an incriminating text message from John Doe or

      record a phone call with him establishing his guilt. Despite the fact that her ex-

      boyfriend was encouraging her to obtain incriminating text messages from John Doe,

      Jane Roe failed to mention that she had already received such iMessages that very

      morning. Nor did she mention that she had taken a screen shot of the iMessages for the

      sake of preserving evidence.

   67. John Doe passed a polygraph confirming as truthful that he and Jane Roe had not traded

      any iMessages concerning the alleged sexual assault.



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   68. Jane Roe’s accusations against John Doe were false and were intended to garner

      sympathy and attention from her ex-boyfriend.

   69. As noted above, John Doe passed a polygraph confirming that he had not engaged in any

      sexual contact with Ms. Roe on the evening of the alleged assault.

   70. Jane Roe’s account of events significantly changed over time and conflicted with

      bystander testimony, which should have severely undermined her credibility.

      Nonetheless, Millie unreasonably excused all inconsistencies and drew all inferences—

      without exception—in favor of Jane Roe.

   71. With regard to the walk Jane Roe had taken with John Doe on February 11, 2016, Jane

      Roe first reported to Millie that John Doe had “hit on her” during the walk and made

      sexual comments. According to her roommate’s testimony, Jane Roe also told her that

      John Doe had tried to kiss her, hold her hand and “do stuff.”

   72. But later, at the Administrative Conference, Jane Roe added dramatic details to her

      narrative regarding her walk with John Doe. During the hearing, she claimed for the

      first time that, while on their walk, John Doe had grabbed and slapped her buttocks,

      hugged her from behind—even picked her up and threw her over his shoulder. She also

      reported for the first time that John Doe so frightened her on the walk that she had to run

      away from him.

   73. John Doe consistently denied that he made any sexual advances toward, or engaged in

      any physical contact with, Jane Roe during the walk.

   74. Despite Jane Roe’s shifting story about what had happened on the walk, Millie

      ultimately determined that Jane Roe’s version of events was more credible than John




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      Doe’s. She then relied on her factual findings regarding the walk to support her

      ultimate finding that John Doe sexually assaulted Jane Roe the following evening.

   75. Additionally, Millie arbitrarily found John Doe’s testimony about the walk to be not

      credible because, she reasoned, if he feared sexual contact with Jane Roe due to his

      germaphobia, he would not have gone on a walk or have had coffee with her. Millie

      simply overlooked the scientific fact that one cannot contract herpes by walking or

      having coffee with another person. Thus, it was unreasonable to infer from John Doe’s

      willingness to have coffee and go for a walk with Jane Roe that his testimony about his

      sexual aversion to Jane Roe lacked credibility.

   76. Further, it is unreasonable to credit as true an ever-shifting and increasingly elaborate

      story of the walk, as Millie did, merely because Jane Roe told her roommate that John

      Doe had hit on her during the walk. Jane Roe’s falsely confiding in her roommate was

      motivated by her need for attention and her desire to inflame her ex-boyfriend’s

      jealously.

   77. Jane Roe’s testimony also changed from her first interview with Millie on February 23,

      2016, to her second interview on April 6, 2016. Her later testimony included new,

      sensational details about the assault. For instance, she claimed for the first time in her

      second interview that, at the time of the assault, John Doe was slapping her awake and

      interrogating her as to how many sexual partners she had had.

   78. But, from the time that Jane Roe entered his dorm room until well past 3:24 A.M. (when

      Jane Roe sent the text to her ex-boyfriend falsely accusing John Doe), the door to John

      Doe’s room had been left partially open. In the dorm room immediately opposite John

      Doe’s, two witnesses were playing video games with the sound turned low and the door



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      open wide. The witnesses testified that they would have been able to hear any noises

      coming from John Doe’s room. They heard nothing: no slapping, no questions, no

      protestations, no yelling.

   79. Millie, however, unreasonably dispensed with all witness testimony that undermined

      Jane Roe’s chronology by finding that the assault simply must have occurred much

      earlier than Jane Roe remembered. Millie premised her finding on an undisclosed

      “expert” opinion regarding trauma’s effect on a trauma victim’s memory—evidence that

      was not in the Record. Based on this undisclosed and unqualified “expert” evidence,

      Millie unreasonably concluded without support that Jane Roe’s trauma must have left

      her confused about the time. Millie thereby side-stepped the obvious inconsistency

      between Jane Roe’s and the witnesses’ testimony—which was the centerpiece of John

      Doe’s defense.

   80. Millie used the undisclosed expert opinion to find that Jane Roe’s stories shifted because

      she suffered from trauma-induced memory problems and that the evidence that Jane Roe

      had suffered a trauma was that her stories shifted. Millie’s reasoning was circular and

      outcome-driven.

   81. Based on her circular reasoning, Millie found that the sexual assault did not occur

      immediately before 3:24 A.M.—even though that is the only time in the record that is

      tethered to the evidence. 3:24 A.M. is the time when Jane Roe sent the iMessage to her

      ex-boyfriend, and in every version of the facts related by Jane Roe, she reported that the

      assault occurred immediately before she sent that text.

   82. In other words, Millie created a Catch-22 situation in which John Doe could not possibly

      establish his innocence: if his accuser’s testimony was consistent, Ms. Millie would find



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      her credible and determine that the alleged assault occurred. But if his accuser’s

      testimony was inconsistent, Millie would attribute the inconsistency to trauma-induced

      memory issues, the existence of which, according to her faulty analysis, would prove

      that the alleged assault occurred. Thus, the outcome was predetermined.

   83. Such a backward approach to determining credibility violated John Doe’s due process

      rights because he was effectively deprived the right to confront his accuser, to challenge

      her credibility through meaningful cross-examination, and to present a defense.

   84. On appeal to the University, John Doe submitted to Defendant Holmes’s designee an

      expert report from Dr. Daniel Reisberg, a highly qualified professor of psychology at

      Reed College who testified that the assumptions underlying Millie’s findings regarding

      trauma and its effects on memory were not scientifically supportable. Had John Doe

      received notice before Millie’s decision that she intended to rely on pseudo-science,

      extraneous to the Record, to support her conclusion that Jane Roe’s inconsistencies were

      evidence of trauma, John Doe would have introduced Dr. Reisberg’s report into the

      Record before the hearing and decision. Instead, John Doe was provided no notice that

      Millie would premise her credibility determinations on such junk science.

   85. Defendant Holmes’s designee, without even mentioning Dr. Reisberg’s report, affirmed

      John Doe’s suspension based on Millie’s decision, including her credibility

      determinations. Defendant Holmes approved of her designee’s decision to affirm John

      Doe’s suspension.

   86. Moreover, Millie overlooked Jane Roe’s (or her counsel’s) inconsistencies regarding

      how the purportedly incriminating iMessages were deleted from Jane Roe’s phone. Jane

      Roe’s counsel first claimed that “we” contacted T-Mobile and learned that when Jane



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      Roe deleted John Doe’s contact information from her phone and blocked all future

      messages from him, that process automatically deleted the incriminating iMessages.

      Later, after John Doe presented expert evidence that iMessages are not automatically

      deleted under those circumstances, Jane Roe’s counsel explained that she had been

      mistaken: Jane Roe intentionally deleted the iMessages when she deleted John Doe’s

      information and blocked his messages. Jane Roe’s counsel also claimed that Jane Roe

      had reported to Ms. Millie previously that she had intentionally deleted the messages.

      That information, however, does not appear in Millie’s summary of the investigation.

      Thus, either Jane Roe’s version of how the iMessages were deleted shifted after expert

      evidence showed it to be false (and Millie’s credibility determination was therefore

      unreasonable), or Millie failed to provide John Doe with all of the evidence in the

      Record before the hearing, as is required by the University’s policies and procedures.

   87. Notably, Millie did not provide John Doe with any information as to whether Jane Roe,

      as she claimed, had told Millie during the investigation about the deliberate destruction

      of the iMessages. Millie, as the alleged recipient of that information, would have had

      first-hand knowledge as to the truth of Jane Roe’s claim that she had previously

      disclosed the iMessages’ deliberate destruction. Further, Millie was fully aware that

      John Doe was seeking to determine the truthfulness of Jane Roe’s claim, as well as

      requesting copies of any documentation from the investigation that reflected Jane Roe’s

      disclosure. Millie offered no information and dodged John Doe’s request for

      documentation of any additional interviews by referring him to the material already

      appearing in the Fact-Gathering Investigative Record.




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   88. Additionally, in violation of his due process rights and the University’s policies and

      procedures, John Doe was not provided, before the hearing, with the exhibit in which

      Jane Roe’s attorney attempted to explain her erroneous prior statements regarding Jane

      Roe’s deletion of the iMessages allegedly sent to her by John Doe.

   89. John Doe therefore had no time to prepare a response to the convenient and wholesale

      reversal of Jane Roe’s testimony regarding the iMessages’ deletion.

   90. John Doe, through his attorneys, demanded he be allowed to question Jane Roe’s

      attorney regarding Jane Roe’s new explanation for the iMessages’ deletion to determine

      when Jane Roe first informed her attorney that she had intentionally deleted the

      messages (e.g., from the outset of the representation or only after John Doe had

      presented expert evidence that Jane Roe’s first explanation about the destruction of the

      messages was false).

   91. Millie did not reconvene the conference to allow John Doe to directly cross-examine

      Jane Roe’s attorney, but allowed him to pose written questions to the attorney after the

      Administrative Conference. John Doe submitted questions to Millie, who, having

      approved them as relevant, forwarded them to Jane Roe’s attorney.

   92. Unbeknownst to John Doe, however, Millie instructed the advisor that she could simply

      decline to answer.

   93. Having received Millie’s permission to do so, Jane Roe’s advisor declined to respond to

      the questions. Millie drew no adverse inference regarding Jane Roe’s credibility from

      her attorney’s refusal to answer questions, and Millie relied throughout her opinion on

      her finding that the iMessages had been exchanged between John Doe and Jane Roe.




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   94. Additionally, Millie unreasonably ignored the fact that, although Jane Roe’s ex-

      boyfriend proposed that Jane Roe should elicit from John Doe an incriminating text to

      prove her allegations, Jane Roe said nothing to her ex-boyfriend about the incriminating

      iMessages that she had allegedly received just hours earlier. Instead, Millie arbitrarily

      credited Jane Roe’s illogical explanation that she had forgotten about the incriminating

      iMessages because her ex-boyfriend alternatively proposed recording a telephone call

      with John Doe.

   95. Millie also deprived John Doe of his right to present habit evidence that would have

      shown that he routinely assists others who are under the influence of alcohol and cannot

      take care of themselves. Millie incorrectly determined that John Doe’s proffered

      evidence was character evidence, the admission of which the SOPs prohibit. The failure

      to allow such evidence prejudiced John Doe because Millie discounted his testimony

      that he would not have sexually engaged with a person who might have vomited on him,

      given his germaphobia. Millie found that, had he truly been so disgusted by the prospect

      of Jane Roe vomiting on him, he would not have allowed Jane Roe into his dorm room.

      But the habit evidence would have established that, whatever his revulsion to sexually

      engaging with a person who is intoxicated to the point of vomiting, that aversion would

      not have prevented him from helping that person, as he had routinely done so for others

      in the past.

   96. Millie unfairly allowed Jane Roe to introduce additional evidence into the Record long

      after the hearing’s conclusion. On May 27, 2016—ten days after the Administrative

      Conference—Jane Roe claimed to have remembered material evidence that she wished

      to add to the Record. Specifically, Jane Roe stated that she had suddenly recalled a



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      Facebook message that she claimed John Doe sent to her the day after the alleged sexual

      assault. The message read: “Can I ask, are you going to report me?”

   97. Hearings officer Millie added that evidence to the Record without providing any notice

      to John Doe.

   98. The University’s Sexual Misconduct Standard Operating Procedures specifically

      prohibit submission of new evidence “that was available and could have been provided

      but was not previously provided to the Decision-maker during the fact-gathering

      investigation.”

   99. Nonetheless, hearings officer Millie kept the official Record open to allow Jane Roe to

      submit the additional evidence even though it had allegedly been available as of

      February 13, 2016, before Jane Roe ever filed a complaint against John Doe. Jane Roe

      never established good cause as to why she did not provide this evidence during the fact-

      gathering investigation beyond offering the incredible explanation that she had forgotten

      about it.

  100. In response, John Doe submitted expert evidence regarding a person’s ability to create a

      misleading Facebook account using another person’s profile picture, from which

      damaging messages may be sent. He also submitted the results of a polygraph

      examination confirming that he had never sent such a Facebook message to Jane Roe.

  101. In violation of the University’s procedures and John Doe’s due process rights, Millie

      relied on evidence to which John Doe was given no opportunity to respond, to find that

      he had sent the Facebook message. Before issuing her decision, Millie admitted

      additional evidence to the Record: the summary of University of Oregon Police

      Department Officer Royce Meyers containing his analysis of the Facebook message



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      allegedly sent by John Doe. Officer Meyers’s summary reflects his understanding of

      what digital information is captured by Facebook’s servers concerning a person’s

      account and sent messages.

  102. John Doe was provided no notice that Millie would admit Officer Meyers’s summary to

      the Record and was afforded no opportunity to respond before Millie issued her

      decision, despite the fact that the Student Conduct Code provides that an accused student

      has a right to respond to all information provided to the Ddecision-maker.

  103. Millie unfairly noted in her decision that she found it suspicious that John Doe had

      conducted a factory reset of his computer on the same day that Jane Roe re-discovered

      the Facebook message. John Doe reset his computer on May 27, 2016, because his

      family’s computers had been infected with malware and he was concerned that his

      computer had been similarly infected. Millie was aware, however, that Jane Roe did not

      seek to have the Facebook message admitted until May 31, 2016. Thus, John Doe could

      have had no knowledge that a purported Facebook message would be at issue until days

      after he had completed the factory reset.

  104. Additionally, Millie stated in her decision that she considered the Record both with and

      without the Facebook message and that her determination was unaffected by the

      information. But Millie relied on the Facebook message throughout her decision and

      listed it among the corroborating evidence supporting her decision.

  105. Significantly, Millie disregarded, without explanation, the fact that John Doe passed four

      polygraph tests establishing as truthful his denial of having had any sexual contact with

      Jane Roe on the night in question. As noted above, John Doe passed two polygraph

      examinations establishing the truthfulness of his denial of having sexually assaulted Jane



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      Roe. He subsequently passed a polygraph examination establishing that he had never

      sent Jane Roe the relevant iMessages regarding the alleged sexual assault. Finally, he

      passed a polygraph examination establishing that he never sent Jane Roe the Facebook

      message at issue.

  106. Under Oregon law, the results of polygraph examinations are admissible in

      administrative proceedings. See Wiggett v. Oregon State Penitentiary, 85 Or App 635

      (1987) (holding that a polygraph examination is admissible in prison disciplinary

      proceeding); Waisanen v. Clatskanie Sch. Dist., 220 Or App. 563, 575 (2009) (relying

      on Wiggett to uphold the admission of polygraph evidence in school teacher’s dismissal

      board hearing); State v. Hammond, 218 Or App 574, 576 (2008) (polygraph evidence in

      probation revocation hearing).

  107. Moreover, Millie dismissed, without explanation, compelling testimony from the

      administering polygrapher who stated that passing three polygraphs was unprecedented

      in her experience. The polygrapher also explained that while there may be concerns

      about false positives (that is, results inaccurately reflecting that a person is lying),

      polygraphs are highly reliable when the results reflect truthfulness.

  108. The University’s decision to suspend John Doe therefore followed a biased investigation

      and hearing – both of which were conducted by Millie.

  109. Millie, acted simultaneously as investigator, prosecutor, judge, and jury.

  110. John Doe was not allowed to cross-examine Jane Roe or any of her witnesses, thereby

      denying him any meaningful opportunity to confront the witnesses against him. All

      questions posed to the complainant or her witnesses were required to be submitted to

      and posed by Millie.



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  111. Millie unfairly drew every inference in the complainant’s favor, took every opportunity

      to make adverse credibility determinations against John Doe, excused the complainant’s

      inconsistencies (sometimes by resorting to junk science), discounted without explanation

      John Doe’s having passed four polygraph tests, and ultimately issued an arbitrary

      decision against the overwhelming weight of the evidence.

  112. The University’s perceived need to respond to public criticism of colleges’ mishandling

      of claims of sexual assault created an environment that made it impossible for the

      University’s administration to impartially determine the facts.

  113. The University—concerned about the recent national and local attention focusing on the

      treatment of sexual assault complaints on college campuses—responded to Jane Roe’s

      accusations through arbitrary, discriminatory and illegal actions designed to reach a

      predetermined outcome, namely, John Doe’s suspension from the University.

  114. The University’s gender-based bias is apparent in Millie’s willingness to draw all

      inferences against John Doe, to dismiss all evidence presented by John Doe (whatever

      its strength), to overlook all inconsistencies in Jane Roe’s testimony, and to accept all of

      Jane Roe’s shifting explanations for destroying evidence or conveniently remembering

      incriminating evidence months after it was available.

  115. The University’s gender-bias is also apparent in the discriminatory and selective way it

      applies or disregards its policies and procedures to disfavor male accused students.

  116. For instance, despite the University’s insistence on strict adherence to its required time

      frames when it favored the female complainant, the University, and specifically

      Defendant Holmes – through her designee - failed to similarly observe the required time

      limits for issuing a decision on John Doe’s appeal, much to the detriment of John Doe.



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  117. John Doe’s attorney requested that the Administrative Conference be set a few weeks

      beyond the usual timeframe set forth in the SOPs because she would be out of the

      country on a long-planned trip. Millie refused to grant the extension, citing concerns that

      the delay would negatively impact the complainant, including her access to education.

      But when it came to deciding John Doe’s appeal, the University failed to render its

      decision within the required time, made no effort to notify John Doe that its decision

      would be delayed (until after John Doe’s attorney contacted the University), and failed

      to state good cause for the delay—all in violation of its procedures. The University’s

      decision on John Doe’s appeal was due on August 19, 2016. The University, through

      Defendant Holmes and her designee, issued its conclusory decision almost three weeks

      late, on September 7, 2016—allowing John Doe little time to challenge the appeal

      before the beginning of the fall term.

  118. As stated above, a Lane County Circuit Court, deciding John Doe’s petition for writ of

      review in case number 16CV30413, held that the University and Millie failed to observe

      the University’s policies and procedures. Specifically, the court held on review that the

      following actions violated the University’s stated policies and procedures:

         a. Millie’s disclosing Jane Roe’s counsel’s new explanation for Jane Roe’s

             destruction of the allegedly incriminating iMessages on the day of the hearing,

             thereby affording John Doe no opportunity to prepare a response;

         b. Millie’s failing to provide John Doe access to the full record because Millie

             conducted undocumented interviews of Jane Roe without disclosing to John Doe

             the information thereby collected;




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         c. Millie’s failing to provide John Doe access to the full record by allowing Jane

             Roe to testify in a separate room, while the decision-maker was able to observe all

             of Jane Roe’s nonverbal testimony and her demeanor.

         d. Millie’s failing to require Jane Roe’s advisor to answer questions regarding her

             explanation for the change in story about deletion of the iMessages;

         e. Millie’s relying on undisclosed “expert” evidence concerning trauma’s effect on a

             victim’s memory to excuse the Complainant’s inconsistencies regarding the time

             of the alleged assault; Millie announced this “expert” evidence in her decision,

             allowing John Doe no opportunity to refute the pseudo-scientific assumptions on

             which Millie relied;

         f. Millie’s, without a showing of good cause, admitting to the record (after the

             conclusion of the fact-gathering process) a Facebook message submitted by Jane

             Roe upon her assertion that she had merely forgotten about it; and

         g. Millie’s relying on Officer Meyers’s summary of his analysis of the Facebook

             Message submitted by Jane Roe, and the failure to give John Doe the opportunity

             to respond to Officer Meyers’s report.

  119. In addition to violating its own policies and procedures, the University’s and Millie’s

      actions, described above, deprived John Doe of basic due process and equal protection

      rights guaranteed by the Fourteenth Amendment to the United States Constitution and

      by Title IX of the Education Amendment of 1972, 20 U.S.C. § 1681, et seq. (“Title IX”)

      and its implementing regulations.

  120. As a result of the University’s unlawful actions, John Doe’s reputation has been severely

      damaged and his academic performance has suffered greatly.



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  121. Also as a result of the University’s unlawful actions, John Doe has suffered extreme

      emotional distress.

  122. Moreover, John Doe incurred sizeable attorney’s fees and other costs defending himself

      against the University’s unconstitutional actions throughout its investigation and

      adjudication of the complaint.

  123. John Doe therefore brings this action to obtain relief based on the University’s clear

      violations of the United States Constitution, Title IX, as well as for breach of contract.

  124. John Doe is entitled to an award of damages for the University’s and the individual

      defendants’ injurious actions, and to his reasonable attorneys’ fees and costs incurred in

      pursuing this action.

  125. Without appropriate redress, the unfair and illegal outcome of the disciplinary hearing

      will continue to cause damage to John Doe.

                                 FIRST CLAIM FOR RELIEF

             (Violation of Equal Protection – against the individual defendants)

  126. John Doe incorporates and realleges paragraphs 1 through 125 as if fully set forth

      herein.

  127. Plaintiff brings this claim pursuant to 42 U.S.C. § 1983.

  128. The individual defendants’ actions were taken on the basis of Plaintiff’s gender and

      violated his right to Equal Protection under the Fourteenth Amendment.

  129. The actions of the individual defendants were taken under color of state law.

  130. Individual defendants violated John Doe’s right to equal protection under the Fourteenth

      Amendment to the United States Constitution through their gender-biased handling of

      John Doe’s hearing and appeal described in the Statement of Facts, above.



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  131. As a result of the individual defendants’ violations of his equal protection rights, John

      Doe has suffered monetary damages, emotional distress, loss of educational

      opportunities, and other direct and consequential damages.

  132. Individual defendants’ acts were reckless or callously indifferent to John Doe’s equal

      protection rights.

  133. Plaintiff seeks punitive damages and his reasonable attorneys’ fees under 42 U.S.C. §

      1988.

                              SECOND CLAIM FOR RELIEF

  (Violation of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681, et seq.;
                                  against the University)

  134. John Doe incorporates and realleges paragraphs 1 through 125 as if set forth fully

      herein.

  135. Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681, et seq. (“Title IX”)

      provides, in relevant part, that:

              No person in the United States shall, on the basis of sex, be
              excluded from participation in, be denied the benefits of, or be
              subjected to discrimination under any education program or
              activity receiving Federal financial assistance.


  136. Upon information and belief, the University receives federal funding through various

      means including, without limitation, student loans provided to University students

      directly by the federal government and through other funds furnished by the federal

      government.

  137. Regulations implementing Title IX require that schools “adopt and publish grievance

      procedures providing for the prompt and equitable resolution of student . . . complaints

      alleging any action which would be prohibited by” Title IX or its regulations. To assist

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      schools with implementing those regulations, the Office of Civil Rights (“OCR”) of the

      United States Department of Education has identified a number of factors to be used in

      determining whether a school’s procedures satisfy the “prompt and equitable”

      requirements of the regulations. The procedures adopted by a school covered by Title

      IX must not only “ensure the Title IX rights of the complainant,” but must also “accord[]

      due process to both parties involved . . . .” Pursuant to the U.S. Department of

      Education’s “Question and Answers on Title IX and Sexual Violence,” “due process”

      must include, among other things, “[a]dequate, reliable, and impartial investigation of

      complaints, including the opportunity to present witnesses and other evidence.”

  138. The University deprived John Doe, on the basis of his sex, of his Title IX rights to due

      process and equal protection through the improper administration, and/or the existence

      of its Student Conduct Code and Sexual Misconduct Standard Operating Procedures and

      other applicable policies and procedures in force at all times material hereto.

  139. The University, in violation of Title IX, discriminated against John Doe based on his sex

      and, as a result, John Doe has been seriously and irreparably damaged. The University’s

      decision to initiate the proceeding, and its subsequent conduct of the proceedings, were

      affected by John Doe’s gender.

  140. The University discriminatorily investigated, charged, and disciplined John Doe.

  141. Upon information and belief, the University is engaged in an ongoing practice of gender

      discrimination against male students and employees in the administration of its Student

  142. In violation of Title IX, the University discriminated against John Doe based solely on

      his gender and, as a result, seriously and irreparably damaged him. It discriminated

      against him by failing to comply with its own procedures and by failing to comply with



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      the requirements of Title IX, in order to reach a pre-ordained result, due to his gender

      and based on gender stereotypes.

  143. The University created an environment in which John Doe, an accused male student,

      was denied due process so as to be almost assured a finding of guilt. Such a biased

      process deprived John Doe, as a male student, of educational opportunities on the basis

      of gender.

  144. The University of Oregon conducted its “investigation” and subsequent hearing in a

      manner that was biased against John Doe, based on his gender. From the beginning, the

      investigation and adjudication process was tilted in favor of Jane Roe, the female

      accuser, because of her gender. The hearing officer/investigator, defendant Millie,

      largely accepted Jane Roe’s statements at face value and granted her the presumption of

      truth because she is female. John Doe did not have an equal opportunity to present

      evidence or to access the record, based on his gender.

  145. The University and its agents responded to Jane Roe’s accusations with arbitrary,

      capricious, discriminatory, and gender-based actions—including requiring John Doe to

      change dorms without notice or an opportunity to be heard before the forced relocation.

      Further, the preliminary hearing within two business days, as guaranteed by the Student

      Code of Conduct, was delayed for approximately two months.

  146. The University repeatedly failed to adhere to its stated policies and procedures.

  147. The University contributed to an erroneous outcome through the following:

         a. Failing to provide adequate policies and procedures for the investigation and

             adjudication of complaints of alleged sexual misconduct;




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         b. Violating the University’s policy against gender/sex-based discrimination by

             establishing a de facto presumption, on the basis of gender stereotypes, that John

             Doe committed sexual assault;

         c. Failing to allow John Doe to present a defense by denying him the opportunity to

             cross-examine or confront witnesses and by failing to allow him full access to the

             record before and during the hearing;

         d. Failing to provide John Doe with basic due process, including the opportunity to

             confront Jane Roe with questions to test her veracity and credibility and to

             explore her motivations for her accusations;

         e. Rendering an adverse decision against John Doe without sufficient evidence to

             support such a decision;

         f. Relying on undisclosed expert opinion to render an adverse decision against John

             Doe; and

         g. Failing to allow John Doe an opportunity to respond to Officer Meyers’s report,

             which was admitted to the record after the hearing and disclosed only after Ms.

             Millie’s decision was issued.

  148. The University’s gender bias affected the outcome of the proceeding.

  149. As a direct and proximate consequence of the University’s Title IX violation, John Doe

      has sustained significant damages including, but not limited to, being delayed in his

      educational pursuits, emotional distress, and reputational damage.

  150. John Doe has also suffered monetary damages, loss of educational opportunities, and

      other direct and consequential damages.




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  151. John Doe is entitled to recover damages for the University’s Title IX violations, in an

      amount to be determined at trial, plus prejudgment interest, reasonable attorneys’ fees,

      expenses, costs and disbursements, and appropriate equitable relief, as directed by the

      Court.

                                THIRD CLAIM FOR RELIEF

                         Breach of Contract (Against the University)

  152. John Doe incorporates and realleges paragraphs 1 through 125 as if set forth fully

      herein.

  153. At all times material hereto, a contractual relationship existed between the University

      and John Doe. The Student Code of Conduct and the other related policies, procedures,

      and promises governing situations such as this one, the terms of which were unilaterally

      promulgated by the University, comprise the contract. Pursuant to that contract, the

      University was required to act in accordance with the Student Code of Conduct and

      SOPs and other applicable policies in resolving complaints of misconduct, in the

      investigation of those complaints, and in the process of adjudicating complaints of

      sexual misconduct.

  154. The promises set forth in the Student Code of Conduct and other policies are and were

      supported by valid consideration.

  155. John Doe fully complied with all of his contractual obligations to the University,

      including payment of annual tuition and compliance with enrollment procedures.

  156. Based on the aforementioned facts and circumstances, the University materially

      breached its contractual obligations to John Doe by, among other things:

         a. Discriminating against John Doe on the basis of his gender;



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         b. Failing to provide adequate policies and procedures for the investigation and

              adjudication of complaints of alleged sexual misconduct;

         c.     Violating the University’s policy against gender/sex-based discrimination by

              establishing a presumption, on the basis of gender stereotypes, that John Doe

              committed sexual assault;

         d. Failing to allow John Doe to present a defense by denying him access to the full

              record before and during the hearing;

         e. Rendering an adverse decision against John Doe without sufficient evidence to

              support such a decision;

         f. Relying on undisclosed expert opinion to render an adverse decision against John

              Doe; and

         g. Failing to notify John Doe in a timely manner that new evidence had been

              admitted to the record, which ultimately prevented John Doe’s experts from

              completing a rigorous forensic analysis in support of his defense.

  157. As a direct, proximate, and foreseeable consequence of these breaches, John Doe

      sustained significant damages, including, without limitation, loss of educational

      opportunities, economic injuries, and other direct and consequential damages.

                                FOURTH CLAIM FOR RELIEF

                       Breach of Covenant of Good Faith and Fair Dealing
                                    (Against the University)

  158. John Doe incorporates and realleges paragraphs 1 through 125 as if set forth fully

      herein.

  159. The contract between the University and John Doe imposed upon the University a duty

      of good faith and fair dealing including a duty to conduct a diligent and unbiased

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          investigation and adjudication of disciplinary matters according to the University’s

          Student Code of Conduct, SOPs, and other policies.

      160. The University breached and violated the covenant of good faith and fair dealing

          implied in its agreement with John Doe by failing to conduct a diligent, unbiased, and

          meaningful investigation and adjudication.

      161. The University also breached its implied covenant of good faith and fair dealing by,

          among other things, engaging in the conduct described in paragraph 156 above.

      162. As a direct, proximate, and foreseeable consequence of these breaches, John Doe

          sustained significant damages, including, without limitation, loss of educational

          opportunities, economic injuries, and other direct and consequential damages. John Doe

          is entitled to damages in an amount to be determined at trial, plus prejudgment interest,

          and appropriate equitable relief, as directed by the Court.

                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, John Doe, demands that judgment be entered in his favor and

against Defendants, for the following relief:

         a. Compensatory damages in an amount to be proven at trial, as well as prejudgment

             interest, punitive damages, reasonable attorneys’ fees, expenses and costs; and

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      b. Such other relief that the Court deems just and proper under the circumstances.

      Plaintiff John Doe demands a trial by jury on all claims so triable.


DATED this 25th day of April, 2018.

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